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                        IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    )
                                                                    ) (Jointly Administered)
                                                                    )

              NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
          HEARING ON SEPTEMBER 8, 2023 AT 11:30 A.M. (EASTERN TIME)
      BEFORE THE HONORABLE THOMAS M. HORAN IN THE U.S. BANKRUPTCY
         COURT, 824 NORTH MARKET STREET, 3RD FLOOR, COURTROOM 7,
                        WILMINGTON, DELAWARE 19801


       This hearing will be conducted in person. All participants (including witnesses) at an in-
    person hearing are required to attend in person, except that remote participation at an in-person
        hearing is permitted for: (i) counsel for a party or a pro se litigant that files a responsive
    pleading and intends to make only a limited argument; (ii) a party or a representative of a party
     that has not submitted a pleading but is interested in observing the hearing; (iii) any party that
           is proceeding, in a claims allowance dispute, on a pro se basis; or (iv) extenuating
          circumstances that warrant remote participation as may be determined by the Court.

     If appearance via Zoom is permitted, please use the following link to register for this hearing
    to appear via Zoom. All individuals participating by video must register at least two (2) hours
          prior to the hearing. After registering your appearance by Zoom, you will receive a
                  confirmation email containing information about joining the hearing.

    https://debuscourts.zoomgov.com/meeting/register/vJItduCsqT0iGj94kAY2k5WQsH9AyFyDp
                                              40

                  COURTCALL WILL NOT BE USED FOR THIS HEARING.




1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
117, Mesa, AZ 85203.



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                                     First Day Declarations

1.      Declaration of T. Scott Avila in Support of First Day Motions [Filed: 8/29/23] (Docket
        No. 20).

        Status: The Debtors will ask the Court to admit the Declaration into evidence. To the
        extent the Court or any party in interest have questions regarding the Declaration or the
        factual bases for the first-day relief the Debtors seek, Mr. Avila will be available in
        person.

2.      Declaration of T. Scott Avila in Support of Additional First Day Motions [Filed: 9/6/23]
        (Docket No. 76).

        Status: The Debtors will ask the Court to admit the Declarations into evidence. To the
        extent the Court or any party in interest have questions regarding the Declaration or the
        factual bases for the additional first-day relief the Debtors seek, Mr. Avila will be
        available in person.

                                     Administrative Motions

3.      Motion of Debtors for Entry of an Order (I) Authorizing the Debtors to (A) File a
        Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for each
        Debtor, (B) File a Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors,
        and (C) Redact Certain Personally Identifiable Information for Individual Creditors; and
        (Ii) Granting Related Relief [Filed: 9/6/23] (Docket No. 71).

        Status: This matter will go forward.

4.      Debtors’ Application for Entry of an Order (I) Authorizing and Approving the
        Appointment of Omni Agent Solutions as Claims and Noticing Agent and (II) Granting
        Related Relief [Filed: 9/6/23] (Docket No. 72).

        Status: This matter will go forward.

First Day Motions Pertaining to Operations

5.      Debtors’ Motion for Entry of Interim and Final Orders: (I) Authorizing the Payment of
        Certain Taxes and Fees; (II) Granting Related Relief [Filed: 9/6/23] (Docket No. 73).

        Status: This matter will go forward with respect to an interim order.

6.      Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Proposed Form of
        Adequate Assurance of Payment to Utility Companies; (II) Establishing Procedures for
        Resolving Objections by Utility Companies; (III) Prohibiting Utility Companies from
        Altering, Refusing, or Discontinuing Service; and (IV) Granting Related Relief [Filed:
        9/6/23] (Docket No. 74).

        Status: This matter will go forward with respect to an interim order.


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7.      Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors
        to (A) Continue to Maintain their Insurance Policies and Programs, (B) Honor All
        Insurance Obligations, (C) Renew, Amend, Supplement, Extend or Purchase and Finance
        Insurance Policies; and (II) Granting Related Relief [Filed: 9/6/23] (Docket No. 75).

        Status: This matter will go forward with respect to an interim order.



Dated: September 6, 2023                PACHULSKI STANG ZIEHL & JONES LLP

                                        /s/ Laura Davis Jones
                                        Laura Davis Jones (DE Bar No. 2436)
                                        David M. Bertenthal (CA Bar No. 167624)
                                        Timothy P. Cairns (DE Bar No. 4228)
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                                        Proposed Counsel to the Debtors and Debtors in Possession




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